Case 1:20-cv-12270-NMG Document 259 Filed 11/14/23 Page 1 of 4

United States District Court
District of Massachusetts

Ruth A. Pritt,
Plaintiff,

Civil Action No.
20-12270-NMG

Vv.
John Crane Inc.,

Defendant.

et et Ne ee et ee ett ee eet eet

MEMORANDUM & ORDER

Plaintiff Ruth Pritt (“plaintiff”) moves this Court to
certify an order for interlocutory appeal under 28 U.S.C. §
1292(b) (“section 1292(b)”) (Docket No. 249). Specifically, in
response to this Court’s ruling on the availability of damages
(Docket No. 245), she seeks to have the First Circuit Court of
Appeals (“the First Circuit”) consider “whether punitive damages
or loss of consortium are available .. . under maritime law.”
Because certification is unwarranted, this Court will deny
plaintiff’s motion.}

I. Legal standard

Pursuant to section 1292(b), a district court may certify

an otherwise non-appealable order for interlocutory review by

1 Plaintiff separately filed in the Appeals Court a notice of interlocutory
appeal pursuant to Fed. R. App. P. 3(c) and 28 U.S.C. § 1292(a) (3) (Docket
No. 253).
Case 1:20-cv-12270-NMG Document 259 Filed 11/14/23 Page 2 of 4

the Court of Appeals if the order (1) involves a controlling
question of law (2) as to which there are grounds for a
substantial difference of opinion and (3) an immediate appeal
would materially advance the ultimate termination of the

litigation. Caraballo-Seda v. Municipality of Hormigueros, 395

F.3d 7, 9 (1st Cir. 2005S).
The First Circuit has explained that certification of an
interlocutory appeal should be used
sparingly and only in exceptional circumstances, and where
the proposed intermediate appeal presents one or more

difficult and pivotal questions of law not settled by
controlling authority.

Id. (quoting Palandjian v. Pahlavi, 782 F.2d 313, 314 (lst Cir.

1986)).

A question of law is “controlling” if reversal would

terminate the case. Waters v. Day & Zimmermann NPS, Inc., 2020

WL 4754984, at *2 (D. Mass. Aug. 14, 2020). A controlling
question typically requires the resolution of a legal concept
without consideration of the record and often involves a
question of constitutional or statutory interpretation. Id.
Prompt resolution “generally promotes the possibility of
curtailing and simplifying pretrial or trial.” Id. (citation and

internal quotation marks omitted) .
Case 1:20-cv-12270-NMG Document 259 Filed 11/14/23 Page 3 of 4

II. Analysis

Reversal of this Court’s order regarding the availability
of certain damages under maritime law would not resolve this
litigation. At most, it would partially impact the damages
phase of a trial. The First Circuit has made it abundantly
clear that it disfavors interlocutory certification except in

exceptional circumstances. See In re San Juan Dupont Plaza Hotel

Fire Litig., 859 F.2d 1007, 1010 n.1 (1st Cir. 1988) (explaining

instances where section 1292(b) “may appropriately be utilized
will, realistically, be few and far between”). This is not one

of those rare circumstances. See Lankford v. Nat'l Carriers,

Inc., 2015 WL 13943400, at *1 (W.D. La. Feb. 23, 2015)
(surveying case law and explaining that “[c]ourts have held that
punitive damages issues do not constitute ‘controlling questions
of law’ for purposes of section 1292(b)”).

Because the ruling of this Court on the availability of
damages under general maritime law does not constitute a
controlling question of law for the purposes of section 1292(b),

certification would be improper. See Caraballo-Seda, 395 F.3d at

9.
Case 1:20-cv-12270-NMG Document 259 Filed 11/14/23 Page 4 of 4

ORDER
For the foregoing reasons, plaintiff’s motion for

certification of interlocutory appeal (Docket No. 249) is

DENIED.

So ordered.

LV bth (Crater:

Nathaniel M. Gorfon
United States District Judge

Dated: November |/7, 2023
